                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Senior District Judge Richard P. Matsch

Date:               January 21, 2010
Courtroom Deputy:   J. Chris Smith
FTR Technician:     Kathy Terasaki
____________________________________________________________________________________

Civil Action No. 09-cv-02032-RPM

AMY ARAGON,                                                                   David A. Lane
                                                                              Qusair Mohamedbhai
        Plaintiff,
v.

ADAMS COUNTY CORONER’S OFFICE,                                                Michelle C. Tyler
JAMES HIBBARD,                                                                Heidi Miller

       Defendants.
____________________________________________________________________________________

                               COURTROOM MINUTES
____________________________________________________________________________________

Hearing on Pending Motions

2:58 p.m.        Court in session.

Court’s preliminary remarks.

3:00 p.m.        Argument by Ms. Tyler.

ORDERED:         Motion to Dismiss or, in the Alternative, Motion for Summary Judgment, filed
                 December 24, 2009 [10], is denied.

ORDERED:         Alternative Motion for Limited Discovery, filed December 24, 2009 [11], is denied.

Discussion regarding scheduling.

Court states counsel will be contacted to schedule a scheduling conference.

3:04 p.m.        Court in recess.

Hearing concluded. Total time: 6 min.
